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 Counsel for UBS Securities LLC and UBS
 AG London Branch
                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
In re                                        §
                                             §
                                                                           Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,1          §
                                             §
                                                                    Case No. 19-34054-sgj11
          Debtor.                            §
                                             §
UBS SECURITIES LLC and UBS AG LONDON BRANCH, §
                                             §
          Plaintiffs,                        §
                                             §
                                                                     Adversary Proceeding
v.                                           §
                                             §
                                                                          No. 21-03020
HIGHLAND CAPITAL MANAGEMENT, L.P.,           §
                                             §
          Defendant.                         §
                                             §

        UBS’S REPLY IN FURTHER SUPPORT OF ITS MOTION FOR EXPEDITED
        HEARING ON FOREIGN NON-PARTY SENTINEL REINSURANCE, LTD.’S
                        MOTION FOR PROTECTIVE ORDER

   1
      The last four digits of the Debtor’s taxpayer identification number are 6725. The Debtor’s
headquarters and service address is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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       UBS Securities LLC and UBS AG London Branch (together, “UBS”), plaintiffs in this

adversary proceeding and creditors in the underlying chapter 11 case, respectfully submit this reply

in support of their motion to set an expedited hearing [Adv. Dkt. No. 110] (the “Motion to

Expedite”) on Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for Protective Order

[Adv. Dkt. No. 106] (the “Motion” filed by “Sentinel”) and to respond to Sentinel’s Opposition to

the Motion to Expedite [Adv. Dkt. No. 111] (the “Opposition”).1

                                       INTRODUCTION

       1.      As detailed in UBS’s Motion to Expedite (¶¶ 4-6) and UBS’s Opposition (¶¶ 4-7),

UBS has for nearly three months been negotiating with Beecher to obtain documents in response

to UBS’s subpoena. During that time, UBS agreed to a number of extensions of the subpoena

response deadlines in a good-faith effort to resolve this dispute without judicial intervention.

Although time-consuming, this process with Beecher was successful—Beecher ultimately agreed

to produce all documents responsive to the subpoena and to begin rolling productions on

September 3, 2021, more than six weeks before the trial date scheduled in this case. But-for the

Motion of Sentinel (a non-subpoenaed non-party, which has not moved to intervene and which is

the very entity that facilitated the fraudulent transfer of well over a hundred million dollars of

assets), UBS today would be in possession of a large number of the subpoenaed documents and

the rolling production would be ongoing. See Tomkowiak Decl., Ex. 1.

       2.      But Sentinel claims in its Opposition that UBS has no reason to expedite the

resolution of Sentinel’s Motion because UBS did not notify Sentinel of the trial date during

negotiations with Beecher and because UBS will likely be forced by Sentinel’s actions to seek a



   1
       UBS incorporates as relevant its Opposition to Sentinel’s Motion [Adv. Dkt. No. 108]
(“UBS’s Opposition”) and Appendix of Exhibits to UBS’s Opposition [Adv. Dkt. No. 109], which
includes the Declaration of Sarah Tomkowiak [Adv. Dkt. No. 109-1] (“Tomkowiak Decl.”).


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short delay of the hearing. See, e.g., Opp. ¶¶ 1-2. These arguments are unavailing. The reality is

that UBS served a subpoena on Beecher in June—well in advance of the October trial date—and

successfully resolved Beecher’s objections through the meet-and-confer process (despite

Sentinel’s attempt to be an obstructionist to this process). Beecher would now be producing

documents if Sentinel had not filed the Motion the day before Beecher was set to begin production.

Further, as explained in UBS’s Opposition, Sentinel’s Motion is procedurally defective, Sentinel

has no standing to contest the Beecher subpoena, and Sentinel has no right to delay resolution of

its Motion for months while UBS is left in the lurch. See UBS’s Opp. ¶¶ 5-24. Each day that goes

by without resolution of the Motion only prejudices UBS, which is deprived for another day of the

evidence it requires to obtain the relief it seeks—a permanent injunction forbidding any further

transfer of monies and assets to Sentinel. Indeed, just two days before filing the Motion, Sentinel

sent a letter to the Debtor demanding that the Debtor immediately transfer the millions of dollars

in assets still purportedly under its management to Sentinel in direct violation of the Court’s

temporary restraining order. See Decl. of Kathryn K. George (“George Decl.”), Ex. 1. This further

confirms the urgent need for UBS to obtain the subpoenaed documents so that the permanent

injunction can be entered.

       3.      Moreover, all of Sentinel’s arguments in the Opposition (¶¶ 4, 12-15) about

Cayman Islands law, service of subpoenas to Sentinel under the Hague Evidence Convention, and

Sentinel’s supposed fiduciary duties are irrelevant because the Motion implicates a document

subpoena served on Beecher—a U.S. entity—which is ready and willing to produce the

subpoenaed documents now. This dispute does not involve a Sentinel subpoena or any obligation

by Sentinel under Cayman law.




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         4.    Fatally, Sentinel’s Opposition, like its Motion, contains no evidence to substantiate

its claim that it “will be significantly prejudiced” without a protective order from this Court. Opp.

¶ 16. To the contrary, the Opposition only confirms that Sentinel seeks delay precisely to prevent

UBS from obtaining any documents that Sentinel deems “confidential.” See id. ¶¶ 3-6, 13, 15.

Sentinel admits in its Opposition that the documents it claims are confidential include documents

containing the “personal information of beneficial owners” of Sentinel. Id. ¶ 5 n.3. This is a

critical admission because the beneficial owners of Sentinel are James Dondero and Scott

Ellington. In other words, Sentinel seeks delay here to prevent the discovery of information about

Dondero and Ellington, the owners of Sentinel and the architects and beneficiaries of the fraudulent

transfers. Sentinel’s objection that the swift resolution of its Motion would inflict “significant[]

prejudice[]” on Sentinel, id. ¶ 16, should be seen for what it is: A ploy to delay discovery and

protect Dondero and Ellington. The Court should either grant the Motion to Expedite and schedule

an expedited hearing on Sentinel’s Motion or promptly deny Sentinel’s Motion, thus allowing all

of the evidence about the fraudulent transfers in Beecher’s possession to come forth.

                                          ARGUMENT

I.       UBS HAS ESTABLISHED “CAUSE” TO EXPEDITE ANY HEARING ON
         SENTINEL’S MOTION

         5.    Sentinel’s primary argument in opposition to UBS’s Motion to Expedite is that

UBS has not established “cause” to expedite any hearing because UBS may seek to extend the

remaining deadlines in this adversary proceeding. See Opp. ¶¶ 7-11. Sentinel also asserts that this

means the “emergency” is “of UBS’s own making.” Id. ¶ 9.2 Sentinel is wrong on both counts.



     2
        Taking a Goldilocks approach to characterizing the facts, Sentinel contends that UBS has
simultaneously been too lax and too strict in seeking compliance with the subpoena. Compare,
e.g., Sentinel Mot. ¶ 21 (“UBS has thus far refused to provide Sentinel additional time to review
the documents and is requiring Beecher to immediately produce [the] documents.”), with, e.g.,


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       6.      First, regarding the claim that any emergency is of UBS’s own making, UBS

provided in its Opposition to Sentinel’s Motion a detailed procedural description of UBS’s

negotiations with Beecher (supported with contemporaneous exhibits documenting what

transpired), which prove that there was no delay on UBS’s part—and that UBS worked in good

faith to successfully resolve Beecher’s objections and agree on a reasonable process for both

parties for the production of the subpoenaed documents. UBS Opp. ¶¶ 4-7. UBS even sought to

work reasonably with Sentinel when Sentinel inserted itself in these discussions and notified UBS

in August that it would file a motion for protective order to delay the production for as long as

possible and that it alone would dictate Beecher’s production. Id. ¶ 5. After learning of Sentinel’s

position, Beecher replaced its counsel on August 20, and its new counsel quickly agreed that

Beecher would produce all subpoenaed documents on a rolling basis beginning on September 3

and would not take direction from Sentinel on what to produce. Id. ¶ 6.

       7.      There was nothing untoward or improper about UBS’s negotiations with Beecher

or Sentinel and certainly nothing that would support denial of UBS’s Motion to Expedite. To the

contrary, UBS’s negotiations with Beecher were successful, and if Beecher’s production had begun

on September 3, there would be nothing now for the Court to consider. But the need for emergency

relief exists now because of Sentinel’s actions in seeking to delay and deny UBS the documents it

is entitled to under the Beecher subpoena. Sentinel’s Opposition boils down to an argument that

litigants who engage in good-faith (but time-consuming) negotiations to resolve discovery disputes

should be penalized for their efforts while actors who interfere with discovery (and thereby derail

a case’s schedule) should be rewarded with the delay they seek. That is exactly contrary to Rule




Opp. ¶ 8 (“[T]he Subpoena to Beecher has been outstanding for months and UBS is only now
seeking to enforce it . . . .”).


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26 and the fundamental expectation that litigants will engage in good-faith negotiations to resolve

discovery disputes absent court intervention.

       8.      Second, the fact that UBS likely will need to move for an extension of the

scheduling order does not obviate the need for expedited resolution of Sentinel’s Motion. Setting

aside that the Motion is legally and factually frivolous, “every day of delay in resolving Sentinel’s

(meritless) Motion is another day in which Sentinel can prevent UBS and the Court from

discovering the facts and potentially engage in further illicit conduct.” Mot. to Expedite ¶ 6.3

Indeed, it has already been four years since Dondero and Ellington orchestrated the transfers to

Sentinel. Further delay in the exploration of the facts surrounding those transfers and the assets is

highly prejudicial to UBS. See, e.g., Alcala v. Tex. Webb Cnty., 625 F. Supp. 2d 391, 405 (S.D.

Tex. 2009) (“courts recognize that delay can lead to the loss of evidence and duly frustrate a

plaintiff’s ability to put on an effective case”); SEC v. Mutuals.com, Inc., No. 03-cv-2912,

2004 WL 1629929, at *3 (N.D. Tex. July 20, 2004) (“a ‘civil plaintiff has an interest in the prompt

resolution of its claims and in obtaining discovery while information is still fresh in witnesses’

minds’” (citation omitted)). These concerns are all the more heightened here where Sentinel has

admitted that it is actively reviewing documents to identify and prevent the disclosure of any

“personal information” related to beneficial owners of Sentinel such as Dondero and Ellington and

where it is demanding that the Debtor immediately transfer millions of dollars in assets still

purportedly under the Debtor’s management to Sentinel, in violation of the temporary restraining

order in place in this case. Opp. ¶ 5 n.3; George Decl., Ex. 1.




   3
        Tellingly, in response to UBS’s argument that Sentinel’s complicity in the fraudulent
transfers at the heart of this adversary proceeding and Sentinel’s ongoing questionable conduct
further establish the need for an expedited hearing, see Mot. to Expedite ¶¶ 5 & n.3, 10, Sentinel
offers a one-paragraph conclusory denial, see Opp. ¶ 12, devoid of any evidentiary support.


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       9.      The dispositive fact is that UBS needs Beecher’s documents—and is entitled to

those documents—now. UBS has been vigorously seeking all the discovery it requires to support

its request for a permanent injunction and should not be forced to litigate this ultimate relief

without the benefit of the Beecher production, which Sentinel is delaying, not UBS. That is the

main reason an extension of the scheduling order will likely be necessary. But the sooner UBS

gets the subpoenaed documents, the sooner the parties will be in a position to litigate the ultimate

issue of a permanent injunction.

II.    SENTINEL’S OPPOSITION CONFIRMS THE NEED FOR EXPEDITED
       RESOLUTION

       10.     Denying UBS’s Motion to Expedite would allow Sentinel to halt Beecher’s

production until Sentinel has pre-screened and withdrawn documents from production that it

deems are “confidential.” Sentinel has now repeatedly admitted that, under the pre-screen-and-

approval process that it seeks to impose, it will prevent UBS from receiving documents that are

discoverable and that UBS is legally entitled to, if Sentinel deems them to be “confidential.” See,

e.g., Opp. ¶ 4 (asserting that UBS is not entitled to and would not receive “[]confidential

documents”); see also UBS Opp. ¶¶ 17-20 (detailing why Sentinel is wrong).

       11.     Indeed, Sentinel now even invokes “the laws of the Cayman Islands” and

announces its intent to “redact[]” and “withh[o]ld” documents based on Cayman law, including all

documents concerning the beneficial owners of Sentinel (i.e., Dondero and Ellington). Opp. ¶ 5

& n.3. Sentinel conspicuously offers no legal support for the notion that Cayman law dictates the

scope of discoverable information that a U.S. corporation—Beecher—must produce in U.S.

federal court pursuant to a U.S. subpoena. Nor, even now after apparently having reviewed a

substantial portion of the documents at issue, does Sentinel provide any actual evidentiary support

that the production contains privileged material. These baseless arguments only confirm that



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Sentinel cannot be allowed to dictate Beecher’s subpoena response to UBS. Delaying resolution

of Sentinel’s Motion so that Sentinel can execute its plan and hamper Beecher’s production to

UBS will prejudice only one party—UBS.

III.       EXPEDITING (OR DISPENSING WITH) THE HEARING WILL NOT
           PREJUDICE SENTINEL

           12.   Sentinel’s prejudice arguments do not withstand scrutiny either. For one thing,

Sentinel is not even entitled to a hearing in the first place. Although the Bankruptcy Code and

Rules specify that certain matters require “a hearing,” 11 U.S.C. § 102(1), motions for a protective

order are not one of them. So nothing prevents the Court from deciding Sentinel’s Motion on the

papers now that it is fully briefed. And if Sentinel is not even entitled to a hearing, it cannot claim

prejudice from expediting the hearing date either.4

           13.   Sentinel asserts that its “due process rights” entitle it to “time to prepare adequately

for a hearing on its protective order and respond to the allegations in [UBS’s Objection], including

preparing a reply and providing declarations in support of the Motion for Protective Order.” Opp.

¶ 15. But the time for Sentinel to submit declarations (or any other evidence) in support of its

Motion has passed. See Fed. R. Bankr. P. 9006(d) (“When a motion is supported by affidavit, the

affidavit shall be served with the motion.”); L.B.R. 7007-1(g)(1) (“A party who relies on

documentary (including an affidavit, declaration . . . ) or non-documentary evidence . . . to support

or oppose a motion shall include such evidence in an appendix.”); see also In re Stone, 588 F.2d




       4
         Even if Sentinel were entitled to a hearing, it received one here. See, e.g., Kaufman v. S &
C Corp., 171 B.R. 38, 41 (S.D. Tex. 1994) (“Absent a congressional mandate through the
bankruptcy code for oral argument, the requirement of a hearing is met by allowing the parties to
file their briefs.”); see also In re River Hills Apartments Fund, 813 F.2d 702, 706 (5th Cir. 1987)
(summarizing hearing requirement). And even if an evidentiary hearing were required, this Court
“may decline to conduct an evidentiary hearing where the alleged facts, even if true, would not
change the outcome.” In re Elmwood Dev. Co., 964 F.2d 508, 512 (5th Cir. 1992).


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1316, 1322 (10th Cir. 1978) (bankruptcy court properly refused to consider untimely affidavit).

Nor could a reply brief salvage Sentinel’s Motion. See, e.g., McGinnis v. Nationwide Life &

Annuity Ins. Co., No. 20-cv-3138, 2021 WL 2531190, at *2 (N.D. Tex. June 21, 2021) (refusing

to consider a declaration submitted with reply brief because “[a] reply brief that presents

dispositive evidence by way of new affidavits and exhibits deprives the nonmovant of a

meaningful opportunity to respond” (citation omitted)); In re e2 Commc’ns, Inc., 320 B.R. 849,

860 (Bankr. N.D. Tex. 2004) (“a reply should ‘contain argument, not new supporting materials’”

(citation omitted)).5

       14.     Finally, Sentinel asserts that it will be “significantly prejudiced if it cannot protect

its interests and review documents containing its business information prior to production by

Beecher.” Opp. ¶ 16. But that assertion confuses the effect that expediting the hearing date will

have with the effect that denying Sentinel’s Motion will have. Sentinel’s admission that it really

just seeks to run the clock here shows the need for this Court to promptly adjudicate—and deny—

Sentinel’s Motion. Moreover, all of Sentinel’s arguments about its obligations under Cayman law

justifying further delay falsely presume that the subpoena was issued to Sentinel and requires

Sentinel to produce documents. None of Sentinel’s obligations under Cayman law, whatever they

are, is applicable to Beecher or at issue here.




   5
       UBS’s Appendix submitted with this reply brief does not contravene this rule because UBS
already “presented the substance of this [supplemental] evidence” in its Motion. Lopez v. Reliable
Clean-Up & Support Servs. LLC, No. 16-cv-2595, 2017 WL 6611615, at *2 (N.D. Tex. Nov. 15,
2017), report and recommendation adopted, No. 16-cv-2595, 2017 WL 6611578 (N.D. Tex. Dec.
27, 2017); see Mot. to Expedite ¶ 9 (“Sentinel has asked the Debtor when it will receive an
approximately $32 million redemption interest in Highland Multi Strategy Credit Fund, L.P.,
another Debtor-managed fund”).


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                                         CONCLUSION

       15.     The Court should either promptly deny Sentinel’s Motion or grant UBS’s Motion

to Expedite and schedule an expedited hearing on Sentinel’s Motion. The Court should further

order supplemental submissions on UBS’s right to recover its fees and costs in being forced to

respond to Sentinel’s frivolous Motion and award any other relief that is just and equitable.

Dated: September 15, 2021                        Respectfully submitted,
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                               CERTIFICATE OF SERVICE

       I, Martin Sosland, certify that UBS’s Reply in Further Support of Its Motion for Expedited

Hearing on Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for Protective Order was filed

electronically through the Court’s ECF system, which provides notice to all parties of interest.

And a courtesy copy of this reply brief will be provided to counsel for Beecher Carlson Insurance

Services, LLC by email.

Dated: September 15, 2021                       /s/ Martin Sosland
                                                Martin Sosland




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